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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

LOIS MAE CHANCE                                                                    PLAINTIFF
v.                                  No. 4:21-cv-23—JM-JJV
KILOLO KIJAKAZI, Acting
Commissioner of Social Security                                                  DEFENDANT

                                           ORDER

       Pending is Plaintiff’s Motion for Attorney Fees Pursuant to the Equal Access to Justice

Act (“EAJA”) (Doc. 22). This motion is GRANTED. Pursuant to the EAJA, Plaintiff is

awarded reasonable attorney’s fees and expenses in the amount of $5,383.38. Payment should

be made to Lois Mae Chance and mailed to her in care of her attorney, Nicholas L. Coleman, at

P.O. Box 1470, Bentonville, AR 72712.

       DATED this 31st day of May, 2022.



                                            ________________________________
                                            UNITED STATES DISTRICT JUDGE
